                                                                   GRANTED, and the March 22, 2013
                                                                   Revocation Hearing is RESET to
                                                                   April 22, 2013 at 3:30 p.m.
                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )
                                              )
        v.                                    )       No. 3:07-00223
                                              )       Judge Trauger
                                              )
REGGIE K. JACKSON                             )

                     MOTION TO CONTINUE REVOCATION HEARING

        Comes the defendant and hereby moves the Court to continue the revocation hearing in

this matter. In support of this motion, defendant would state and show that the alleged violation

in this case is based on a State arrest of Mr. Jackson. Since this matter was last set, a preliminary

hearing in the State case was held on February 22, 2013, but not completed. The preliminary

hearing is now re-set for completion on April 18, 2013. Counsel has spoken with Assistant

United States Attorney Brent Hannafan about the pending revocation and this motion, and Mr.

Hannafan advises that he has no objection to the requested continuance.

        Counsel has spoken with Mr. Jackson’s State appointed attorney who advised that if Mr.

Jackson’s state charge is bound over to the grand jury it will likely be indicted and arraigned in

July.

                                             Respectfully submitted,


                                             s/ Sumter L. Camp
                                             SUMTER L. CAMP
                                             Assistant Federal Public Defender
                                             Attorney for Defendant
                                             810 Broadway Suite 200
                                             Nashville, TN 37203
                                             615-736-5047




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